Case 1:23-cv-00325-WCB          Document 201      Filed 10/04/24   Page 1 of 2 PageID #: 6762




                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

  DELOITTE CONSULTING LLP and                     )
  DELOITTE DEVELOPMENT LLC,                       )
                                                  )
              Plaintiffs,                         )
                                                  )
         v.                                       ) C.A. No. 23-325-WCB
                                                  )
  SAGITEC SOLUTIONS, LLC,                         )
                                                  )
              Defendant.                          )


                                    NOTICE OF SERVICE

        PLEASE TAKE NOTICE that on October 4, 2024, the following document was served

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    1) Notice of Subpoena to Computer Forensic Services

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  Dated: October 4, 2024
